                     Case 5:17-mj-00028-JLT Document 55 Filed 12/11/19 Page 1 of 5

AO 245B-CAED (Rev. 02/2018) Sheet I - Judgment in a Criminal Case



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California
                UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                    V.                                 Case Number:   5:17-mj-00028-JLT
                   MATTHEW PAUL GUMZ                                   Defendant's Attorney: Matthew Lemke, Assistant Federal Defender

THE DEFENDANT:
l-1    pleaded guilty to count(s) 1 of the Complaint.
[ ]    pleaded nolo contendere to count(s) _ , which was accepted by the court.
[J     was found guilty on count(s) _ after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:
!Title & Section                 IINature of Offense                                                    lloffense Ended
j16 U.S.C. § 1538(a)(l)(B)           !!Unlawful Taking of Endangered Species                            111010312016

       The defendant is sentenced as provided in pages 2 through_5_ofthis judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[ ]    The defendant has been found not guilty on count(s) _ .
[v]    Count(s) 2 is dismissed on the motion of the United States.
(]     Indictment is to be dismissed by District Court on motion of the United States.
["']   Appeal rights given.              ( ]     Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                      11/21/2019
                                                                      Date of Imposition of Judgment




                                                                      Name & Title of Judicial Officer
                                                                         l'2-l 'i I L1
                                                                      Date
                    Case 5:17-mj-00028-JLT Document 55 Filed 12/11/19 Page 2 of 5

AO 245B-CAED (Rev. 02/2018) Sheet 4 - Misdemeanor Probation
DEFENDANT: MATTHEW PAUL GUMZ                                                                                                     Page 2 ofS
CASE NUMBER: 5:17-mj-00028-JLT

                                                              PROBATION
The defendant is hereby sentenced to probation for a term of:
18 months.

If this judgment imposes a fine, special assessment, processing fee or restitution, it is a condition of probation that Defendant pay in
accordance with the Schedule of Payments sheet of this judgment.                ·

While on probation, the defendant shall be subject to and must comply with the following conditions of probation:

                                                  CONDITIONS OF PROBATION
1.    The defendant is ordered to obey all federal, state, and local laws.
2.    The defendant shall notify the court and, if represented by Counsel, your counsel of any change of address and contact number.
3.   The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
4.   The defendant shall comply with all rules and requests by the Court necessary and proper to carry out his conditions of
     probation, including, but not limited to, providing any and all financial information.
5.    Other: See Special Conditions of Probation
                    Case 5:17-mj-00028-JLT Document 55 Filed 12/11/19 Page 3 of 5

AO 245B-CAED (Rev. 02/2018) Sheet 4- Probation
DEFENDANT: MATTHEW PAUL GUMZ                                                                                                       Page 3 ofS
CASE NUMBER: 5:17-mj-00028-JLT

                                          SPECIAL CONDITIONS OF PROBATION
1.      The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
        any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
        suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
        any other residents that the premises may be subject to searches pursuant to this condition.
2.      The defendant shall not open additional lines of credit without the approval of the probation officer. The defendant shall not
       'dispose of or otherwise dissipate any of his assets until the fine and/or restitution order by this Judgment is paid in full~ unless
        the defendant obtains approval of the Court or the probation officer. The defendant shall provide the probation officer with
        access to any requested financial information.
3.      As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
        assistance for drug or alcohol abuse.
4.      As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
        etc.) to determine ifhe has reverted to the use of drugs or alcohol.

        As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
        make payment directly to the vendor under contract with the United States Probation Office ofup to $25 per month.
5.      The defendant shall abstain froin the use of alcoholic beverages and shall not frequent those places where alcohol is the chief
        item of sale.
6.      The defendant shall not hunt during the probationary period.
                     Case 5:17-mj-00028-JLT Document 55 Filed 12/11/19 Page 4 of 5

AO 245B-CAED (Rev. 02/2018) Sheet S - Criminal Monetary Penalties
DEFENDANT: MATTHEW PAUL GUMZ                                                                                                        Page4of5
CASE NUMBER: 5:l 7-mj-00028-JL T

                                              CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                         Assessment                            Fine                   Restitution
          TOTALS                                           $25.00                           $2,000.00                 $12,421.50
[ ]   The determination of restitution is defe1Ted until_. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

[✓]   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      The restitution payment of$12,421.50 shall be used by NFWF, or by another organization selected by NFWF, to fund projects
      for the purpose of recovery activities for the California condor within the State of California.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. Ho~ever, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

!Name of Payee                                      II         Total Loss*!       Restitution Ordered!Priority or Percentage
U.S. Fish and Wildlife Service Foundation,          I
1133 15th Street NW, Suite 1000,                                       $0.001                $12,421.501
Washington, DC 2005
!Totals                                             II        $              I               $12,421.501'
[]    Restitution amount ordered pursuant to plea agreement $ _

!]    The defendant must pay interest on restitutjon and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       IJ     The interest requirement is waived for the              I ] fine     [ Jrestitution

       [ ]    The interest requirement for the            I l fine      I l restitution is modified as follows:


["]   If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

[ ]   If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount oflosses are required under Chapters 109A, 110, l l0A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                          Case 5:17-mj-00028-JLT Document 55 Filed 12/11/19 Page 5 of 5

- ·· AO 245B-CAED (Rev. 02/2018) Sheet 6 - Schedule of Payments
  DEFENDANT: MATTHEW PAUL GUMZ                                                                                                       Page 5 of5
  CASE NUMBER: 5: 17-mj-00028-JLT

                                                          SCHEDULE OF PAYMENTS
           Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

  A.                Lump sum payment of$            14,446.50         due immediately, balance due

                    l l      Not later than --, or
                    [-1      in accordance      [ ] C,            l   m,.      [ ] E,or     [.,l F below; or
  B.       i]       Payment to begin immediately (may be combined with                    [ IC,      rm,       or l l F below); or

  C.       il       Payment in equal_ (e.g. weekly, monthly, quarterly) installments of$_ over a period of_ (e.g. months or
                    years), to commence_ (e.g. 30 or 60 days) after the date of this judgment; or

  D.       [ ]      Payment in equal_ (e.g. weekly, monthly, quarterly) installments of$_ over a period of_ (e.g. months or
                    years), to commence _ (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

  E.       I l      Payment during the term of supervised release/probation will commence within_ (e.g. 30 or 60 days) after release
                    from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                    that time; or

  F.                Special instructions regarding the payment of criminal monetary penalties:
                    ["']Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                       ("']CLERK U.S.D.C.
                           501 "I" Street, #4-200
                           Sacramento, CA 95814 ·
                    Your check or money order must indicate your name and citation/case number shown above to ensure your account
                    is credited for payment received.

  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
  due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  [ ]      Joint and Several

  Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
  and corresponding payee, if appropriate:

  [·]      The defendant shall pay the cost of prosecution.

  l ]      The defendant shall pay the following court cost(s):

  [.r]     The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
           Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
  costs.
